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UNITED STATES DISTRICT COURT EO Ro GONICALLY FIL {
SOUTHERN DISTRICT OF NEW YORK

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WENTWORTH GROUP, INC. et al., i ~eoramarecunemammm ite: J

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Plaintiffs,
ORDER

-against-
20 Civ. 6711 (GBD) (JLC)
EVANSTON INSURANCE COMPANY,

Defendant.

GEORGE B. DANIELS, United States District Judge:

Defendant’s opposition to Plaintiffs’ motion for summary judgment is due February 12,
2021. The January 27, 2021 conference is canceled, in light of this Court’s referral to Magistrate
Judge James L. Cott for General Pretrial Supervision and Dispositive Motions.
Dated: New York, New York

January 11, 2021
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CFORG . DANIELS
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